  Case 13-30073       Doc 96       Filed 11/09/17 Entered 11/09/17 11:30:51          Desc Main
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SO ORDERED.

SIGNED this 9 day of November, 2017.




                                                    James P. Smith
                                          Chief United States Bankruptcy Judge


                           UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF GEORGIA

 IN RE:                                     CHAPTER 13

 Larry D. Dillard                           CASE NO. 13-30073-JPS
 Darlene Dillard
 1620 Etchison Spur                         ATTORNEY: Stephen Louis Noel
 Loganville, GA 30052




                          ORDER GRANTING MOTION TO COMPEL

        It appearing to the Court that the Trustee having filed a motion to compel turnover of funds
against Rushmore Loan Management Services, LLC; and it appearing no response having been
filed, it is hereby


        ORDERED that the Trustee’s motion to compel turnover of funds to the Chapter 13
Trustee in the amount of $3,273.00 is hereby granted and the requested post-petition mortgage
fees in the amount of $442.50 are disallowed.


                                      END OF DOCUMENT


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